     Case 2:11-cr-00067-RHW   ECF No. 60   filed 08/24/11   PageID.130 Page 1 of 1




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 5
                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )   NO. CR-11-067-RHW-2
                       Plaintiff,             )
 9                                            )   ORDER GRANTING DEFENDANT’S
      v.                                      )   UNOPPOSED MOTION TO
10                                            )   TEMPORARILY MODIFY ORDER
      PATRICK DAVID BOZARTH,                  )   SETTING CONDITIONS OF RELEASE
11                                            )
                       Defendant.             )
12                                            )

13
14         IT IS ORDERED that Defendant’s unopposed Motion to Modify

15   Release Conditions (ECF No. 58) is GRANTED.             The Defendant shall be

16   allowed to travel to Newport, Washington, from September 2 to

17   September 5, 2011.

18         All other conditions of release previously entered shall remain

19   in full effect.

20         DATED August 24, 2011.

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22                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO
     TEMPORARILY MODIFY ORDER SETTING CONDITIONS OF RELEASE - 1
